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NATICK PUBLIC SCHOOL DISTRICT, . - ~ ¢-

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ANJALI FORBER~PRATT, by her
guardians and best friends
ROSALIND FORBER and
LARRY PRATT,

Plaintiffs

V.

TOWN OF NATICK, BARRY PARKER, ._ ,...… _ , - , ,. ~
Principal of Nau¢k High school §;‘;‘““Ws;v_v`"“-“~'
in his official capacity, harris iam 1
JEROME GOLDBERG, `M;'l” on _u_l_"':'
SUPERINTENDENT OF SCI'IOOLS §§ am M_'Z_AE""_:"'
OF THE TOWN OF NATICK in his gm __“i; z / K:._@Q
official capacity and DOES 1-100, ""` '
Defendants

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS: THE AMERICANS W`ITH
DISABILITIES ACT OF 1990: SECTION 504 OF THE REHABILITATION ACT OF
1973; 42 U.S.C.§1983; MASSACHUSETTS GENERAL LAW c.93, §103, and
ARTICLE CXIV of the MASSACHUSETTS CONSTITUTION; NEGLIGENCE;
DECLARATORY RELIEF AND DAMAGES

JURY TRI.AL DEMANDED

Respectfully submitted,

David G. Hanson, Esquire
William J. I-Iunt, Esquire
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I. INTRODUCTION
Plaintiff, through her guardians and parents files this complaint against

defendants and alleges herein that:

l. This case arises out of the defendants’ failure to provide Plaintiff and other
persons with disabilities the minimum legally required access to programs and
facilities owned, operated, controlled and / or maintained at Natick High School
(“the School”) by the Natick Pub]ic School District (“Natick”), a governmental
and public entity. Because of the Defendants’ knowing and historic failure to
adequately evaluate and modify its policies and procedures relative to people
with disabilities, to complete a transition plan for the removal of architectural
barriers, and to in fact remove multiple architectural barriers, plaintiff and
other people with disabilities have been deniedequal access to educational
opportunities at the School (including academic, social and cultural
opportunities) and have been damaged in pursuing their education.

2. The School has for years contained pervasive and serious architectural barriers
that deny full and equal access to the Plaintiff and other students and persons
who have physical disabilities These include inaccessible classrooms,
inaccessible building wings, inaccessible bathrooms, inaccessible ramps and
paths of travel, an inaccessible library, non-complying hardware and a lack of
signage. Some of these barriers constitute safety hazards to persons who use
wheelchairs for mobility such as the Plaintiff.

3. The School and Natick has for years maintained policies and procedures which

segregate people with disabilities by denying them equal access to basic school

activities and educational opportunities

 

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The Defendants have known for nearly twenty (20) years that they are required
by federal law to address their unequal policies, practice and facilities in the
form of a self-evaluation plan and a transition plan. Through the self-
evaluation and transition plans, Defendants were required to identify all
accommodations programs, services, facilities and activities which deny equal
access to persons with disabilities Defendants were required to consult With
interested persons (including persons with disabilities and organization
representing persons with disabilities) and make the changes necessary to
eliminate the effects of any discrimination that resulted from unequal policies
and practices and inaccessible facilities

Defendants have known for nearly seventeen (17) years that they were required
by Section 504 of the Rehabilitation Act of 1973 (§504) to have implemented all
structural changes necessary to ensure full and equal program access in the
facilities owned, operated, controlled and /or maintained by Natick, including
the School.

Defendants have known that they were again required under the Americans
With Disabilities Act of 1990 (ADA) to implement such structural changes by
January 26, 1995.

Defendants have failed to meet any of these federal requirements failed to
develop adequate plans and have denied equal access to persons with physical
disabilities including the Plaintiff.

Defendants have denied equal access to Plaintiff and others with physical
disabilities based solely on their disability in that defendants have knowingly

and intentionally refused to comply with the requirements of federal and state

laws regarding access to public facilities, programs, services and activities

 

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JURISDICTION

This court has subject matter jurisdiction over this action pursuant to 28
U.S.C. §§1343 (a)(3) and 1343 (a)(4) for claims arising out of the Americans with
Disabilities Act of 1990, 42 U.S.C. §§12101, wis for claims arising under
§504 of the Rehabilitation Act of 1973, 29 U.S.C. §794 w

Under the Doctrine of Supplemental Jurisdiction, 28 U.S.C. §1367, this court
has jurisdiction over the plaintist claims arising under Massachusetts State
Law.

This court has jurisdiction to issue a declaratory judgment pursuant to 28

U.S.C. §§2201 and 2202.

VEN“UE
Pursuant to 28 U.S.C. §1391(b) venue is proper in the district in which this
complaint is iiled, which is the judicial district which the claim has arisen, the

Plaintiff resides and the Defendants operate the public entity.

PARTIES

Plaintiff, Anjali F`orber-Pratt, is a person with a physical disability who uses a
Wheelchair for mobility. She is currently a student attending Natick High
School.

This suit is brought by Anjali F`orber-Pratt and by her guardians and parents,

Rosalind F`orber and Larry Pratt.

 

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Defendant Natick is a local government entity within the meaning of ’l`itle II of
the ADA and a recipient of federal financial assistance within the meaning of
§504 of the Rehabilitation Act, and has at least fifty (50) employees

Defendant Bany Parker is the principal of Natick High School and is sued in his
official capacity as principal.

Defendant Jerome Goldberg is the superintendent of schools of the Natick
Pub].ic School District which operates Natick I-Iigh School and is sued in his
official capacity as superintendent of schools

Defendants DOES 1- 100 are administrators and employees of defendant Natick
who have been responsible in some capacity for the access barriers and
discriminatory policies and practices alleged herein, or are necessary parties for
obtaining appropriate relief.

Reference to “Defendants” unless otherwise specified shall be deemed to refer to
all defendants and each of them. The Plaintiff is informed and believes, and
therefore alleges, that in carrying out each of these acts alleged in the
Complaint, each of the defendants acted as the agent for the other defendants
Defendant, and each of them, have known that the Natick Public School District
including particularly the Natick School facility and programs violate applicable
access requirements and standards but have refused to rectify the violations

Defendant’s violations have been knowing and intentional

FACTUAL ALLEGATIONS
Section 504 of the Rehabilitation Act of 1973 and 34 C.F`.R. §104.6 required

Defendants to have completed by May 9, 1981, a self-evaluation of its current

policies and practices and the effects thereof that do not or may not meet the

 

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disability access requirements of Section 504. Defendants were also to have
completed the necessary modifications and taken the necessary remedial steps
to eliminate the effects of any discrimination that resulted from adherence to
such policies and practices Defendants have not, upon information and belief,
completed an adequate self-evaluation, nor have they completed the necessary
modifications and remedial steps necessary to remove the architectural barriers
which discriminate against individuals with disabilities at the School.

Title ll of the ADA and 28 C.F.R. §35. 105 again required the Defendants to have
completed by January 26, 1993 the self-evaluation, necessary modifications
and remedial steps necessary to bring Natick I-Iigh School into compliance
concerning access for persons with disabilities Defendants have not, upon
information and belief, completed an adequate self-evaluation, or made the
necessary modifications or taken the necessary remedial steps

Section 504 of the Rehabilitation Act of 1973 and 34 C.F.R. §104.23 (e) required
Defendants to have Completed by November 9, 1980 a transition plan setting
forth the steps necessary to complete all structural changes to facilities which
were necessary to meet the requirements of Section 504. Defendants upon
information and belief, have failed to adequately develop such a transition plan.
Title ll of the ADA and 28 C.F.R. §35. 150 again required Defendants to develop
a transition pla. ay July 26, 1992. Defendant, upon information and belief,
again failed to adequately develop a transition plan.

Section 504 of the Rehabilitation Act of 1973 and 34 C.F`.R. §104.23(d) required

Defendants to have completed by May 9, 1983 all structural changes in

facilities which were necessary to achieve full program access for, and eliminate

 

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the effects of discrimination against, people With disabilities Defendants have
failed to make these changes

Title ll of the ADA and 28 C.F.R. §35.150(c) again required Defendants to have
completed by January 26, 1995, all structural changes in facilities which were
necessary to achieve full program access for, and eliminate the effects of
discrimination against people with disabilities Defendants failed to make these
changes

Defendants’ failure to adequately complete its self-evaluation and failure to
adequately develop a transition plan which fully meet the requirements of
Section 504 and the ADA has denied, and continues to deny Plaintiff, and other
persons with disabilities their rightful opportunity for equal access to the
School.

Defendants have known for nearly two decades of their duties and obligations
under Section 504 of the Rehabilitation Act and ’l`itle ll of the ADA. Despite this
knowledge, defendants have arbitrarily and intentionally refused to adequately
comply with the self evaluation and transition plan requirements of these civil
rights laws

Defendants have known of their duties and obligations under Section 504 of the
Rehabilitation Act and Title II of the ADA obligations to complete the necessary
and required structural changes to the School. D efendants have arbitrarily and
intentionally refused to complete the necessary and required structural changes
to the School by the May 7, 1981 Section 504 deadline or the January 26, 1995
ADA deadline. lndeed, Defendants have engaged in construction since 1981

which has been out of compliance with the requirements of Section 504 and the

ADA.

 

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30. Defendants’ failure to adequately meet all their Section 504 and ADA obligations
including, Lq't§£ ali_a, to complete an adequate self~evaluation, to develop an
adequate transition plan for modification of existing facilities and to have fully
implemented all structural modifications, has denied, and continues to deny,
Plaintiff access to defendants’ facilities, programs services and activities that
are otherwise available to persons without disabilities

31. Defendants have engaged in conduct and acts of omission that subject Plaintiff
and other people with disabilities to discrimination solely on the basis of their
disability. Defendants directly participated or acquiesced in conduct or acts of
omission described in this complaint Defendants’ discrimination against
Plaintiff and other people with disabilities solely on the basis of their disabilities
has been arbitrary, knowing and intentional

32. Plaintiff has been a student in the Natick Public School District her entire
educational career beginning with kindergarten. She has completed two years
of high school in the School. Last year, she participated in the disability ski
program at Waterville Valley in New Hampshire, and for part of the school year

` attended the Waterville Valley Academy.

33. Defendants have known for at least ten years of the Plaintist disabilities
including the fact that she is a person with a mobility disability who uses a
wheelchair.

34. Plaintiff has been denied access because of multiple and pervasive architectural
barriers in the School including but not limited to: an inaccessible school
library, an inaccessible chemistry lab, an inaccessible cooking class,

inaccessible restrooms, inaccessible drinking fountains, inaccessible ramps,

inaccessible entrances and a lack of signage.

 

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As a means of addressing, however inadequately, the architectural barriers that
prevent the Plaintiff from reaching certain physical areas of the School,
Defendants have cobbled together a system of having school employees often
janitors of the school, physically wheel the Plaintiff up and down the
inaccessible and dangerous ramps in order for her to attend certain activities
and certain classes Often, these individuals are nowhere to be found at the
time that the Plaintiff needs to attend class thereby forcing the Plaintiff
necessarily to be late for class, to miss class and to have her schedule and her
classes unnecessarily disrupted.

As a result of the need to move classes to accommodate the Plaintiff, teachers
and school employees have expressed dissatisfaction With the demands which
the Plaintiff’s disabilities have created for them and have expressed such
dissatisfaction to the Plaintiff in front of other students in class and in the
School. Plaintiff has been demeaned and harmed by such retaliatory
accusations

As a result of the Defendants’ actions and failure to act and as a result of their
failure to provide disability access Plaintiff has suffered denial of her civil
rights physical psychological and emotional discomfort, pain and suffering and
denial of her rights to full and equal access to public facilities all to her general
and statutory damages

As a result of the above facts the Plaintiff was denied her civil rights was
embarrassed, humiliated and was denied full and equal access to the School
solely on the basis that she was physically disabled.

On November 29, 1999, the Metrowest Center for Independent Living

(“Metrowest Center”) filed with the United States Department of Education,

 

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Region I, Office of Civil Rights a fourteen page summary report detailing the
inaccessibility of the School. The report found extensive non-compliance With
school accessibility, non-compliance with the ADA and noncompliance with
Section 504. A copy of the Metrowest Center report is attached hereto as
Exhibit A.

As a result of this report, Robert L. Pierce, Progra.m Manager of the United
States Department of Education, Office of Civil Rights (“OCR”), wrote a letter to
Mr. Paul W. Spooner, author of the report at Metrowest Center on May 24,
2000. In this letter Mr. Pierce detailed his conclusions that there were
numerous non-compliances found with the School including lack of access to
the building, no accessible men’s or ladies rest rooms no tactile signage, no
accessible water fountains, that the ramp between the upper and lower levels of
the library is inaccessible, that the rise of the second floor corridor between the
science laboratory and the section of the main building exceeds the minimum
rise of 1:12, and that the opening force in each door exceeds eight pounds A
copy of this letter is attached as Exhibit B.

In his letter Mr. Pierce represents that OCR has agreed to allow the district to
provide an aide to any high school student (the Plaintiff] who is ng a
wheelchair to assist her until such time as a chair lift is installed. The letter
stated that this arrangement is a temporary arrar.;;ement.

Notwithstanding this arrangement between OCR and Natick, Plaintiff is not
being provided equal access to the facilities programs and activities conducted
at the School.

On May 2, 2000, counsel for the Plaintiff wrote a certified letter to Dr. Barry

Parker, Principal of Natick High School, addressing, among other issues

 

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Plaintiff’s formal request that she be transferred and transported at Natick’s
expense to Medfield High School (“Medfield”) commencing in the fall of 2000 for
the remainder of her high school academic career. Medfield, unlike the School,
is more accessible and meets the relevant federal and state statutes and
regulations concerning accessibility. To date, counsel for the Plaintiff has
received no response to this transfer request from either Dr. Parker or counsel
for Natick.

Not Withstanding Plaintiff’s request for an accessible education, Plaintiff was
confronted at the commencement of the school year, on September 9, 2000,
with an inaccessible class advisor, an inaccessible Driver’s Education program,
the need to change rooms for accessibility, the need to be pushed up or down
dangerous and inaccessible ramps by school personnel, and complaints from

school personnel about the extra work required to accommodate her.

CLASS ALLEGATIONS

 

This action is brought on behalf of the Plaintiff and on behalf of all persons
similarly situated. The class which their individual Plaintiff represents is
composed of all persons including all students or other persons residing in
Natick or attempting to access the School who have physical disabilities and
who have been denied the right of full and equal access to and the use and
enjoyment of the subject facilities due to disability access violations
Persons in this class are so numerous that joinder of all such persons is

impractical and the disposition of their claims herein in a class action is of

benefit to all parties and to the court.

 

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47. There is a well defined community of interest in the questions of law and fact
involved affecting the parties to be represented in that they were all denied their
civil rights to full and equal access to, and use and enjoyment of, the facilities
operated by the Defendants due to the lack of disability access required by law.

48. Common questions of law and fact predominate in the claims of the named
Plaintiff and are typical of the class The Plaintiff will fairly and adequately

represent the needs of the class

FIRST CLAIM:
VIOLATION OF THE AMERICAN WITH DISABILITIES ACT
42 U.S.C. §§12101, e_t Lq.

49. Plaintiff incorporates by reference herein the allegations in paragraphs one
through forty-eight inclusive.

50. Defendants’ acts and omissions alleged hereinhave violated the Americans
With Disabilities Act, 42 U.S.C. §§12101, e_t L{., and the regulations
promulgated thereunder, 28 C.F.R. Part 35, e_t s_eq.

51. Defendants’ conduct constitutes ongoing and continuous violations of ADA and,
unless restrained from doing so, defendants will continue to violate said law.
Said conduct, unless enjoined, will continue to inflict injuries for which plaintiff
has no adequate remedy at law. Consequently, Plaintiff is entitled to injunctive
relief pursuant to §308 of the ADA (42 U.S.C. §§12188).

WHEREFORE, Plaintiff requests relief as set forth below.

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vroLA'rIoN or THE REHABILITATIoN Ac'r oF 1973, 29 U.s.c. §§794 e_t Lq.

52. Plaintiff incorporates by reference herein the allegations in paragraphs one

through fifty-one inclusive.

 

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Defendants’ acts and omissions as alleged herein are in violation of 29 U.S.C.
§794 §§ gin and the regulations promulgated thereunder, 34 C.F.R. Pt. 104 e_t
W. Defendants are the direct recipients of federal funds sufficient to invoke
the coverage of §504, and are unlawfully discriminating against the Plaintiff on
the sole basis of disability.

Plaintiff Anjali Forber-Pratt is a qualified individual with a disability. Solely by
reason of her disability, Plaintiff has been, and continues to be, excluded from
participation in, denied the benefit of, and subjected to discrimination in her
attempts to receive full and equal access to the facilities programs and
activities offered by defendants

WHEREFORE, Plaintiff requests relief as set forth below.

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THIRD CLAIM:
MASSACH'USETTS G.L. CH. 93 §103, AND ARTICLE CXIV OF TI-IE
AMENDMENTS TO THE MASSACI'IUSETTS CONSTITUTION
Plaintiff incorporates by reference herein the allegations in paragraphs one
through fifty-four inclusive.
Massachusetts General Law 93, Section 103 provides that “[A]ny person within
the Commonwealth, regardless of age or handicap...shall, with reasonable
accommodations shall have the same rights as other persons to make and
enforce contracts inherit, purchase, lease, sell, hold and convey real and
personal property, sue be parties give evidence, and to the full and equal
benefit of all laws and proceedings for the security of persons and property

including but not limited to, the rights secured under Article CXIV of the

Amendments to the Constitution.” Article CXIV of the Massachusetts

Constitution provides that “[n]o other qualified handicapped individual shall,

 

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solely by reason of his handicap, be excluded from the participation, denied the
benefits of, or be subjected to discrimination under any program or activity in
the Commonwealth.”

Through acts and omissions described here and above, and denying the Plaintiff
full and equal access to the School, the Defendants have violated the provision
of the Massachusetts General Law 93, Section 103 and denied the Plaintiff her
rights secured under Article CXIV of the Massachusetts Constitution.

'I`o prevent this continuing ongoing violation of her rights, the Plaintiff seeks
injunctive and other appropriate and equitable relief, as described below, as
well as compensatory and exemplary damages litigation costs and reasonable
attorney’s fees

WHEREFORE, Plaintiff requests relief as requested below.

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FOURTI'I CLAIM:
NEGLIGENCE

Plaintiff incorporates be reference herein the allegations in paragraphs one
through fifty-eight inclusive.

Defendants had a duty to exercise ordinary care.

Defendants failed to exercise ordinary care. Defendants negligently failed to
fulfill their mandatory, statutory duties under the Americans With Disabilities
Act of 1990, and the regulations promulgated thereunder, Section 504 of the
Rehabilitation Act of 1973 and the regulations promulgated thereunder,
Massachusetts General Law, Chapter 93, §103 and the Massachusetts
Constitution.

As an actual and proximate result of the Defendants’ failure to exercise

ordinary care and comply with its mandatory and statutory duties the Plaintiff

 

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has suffered damages in an amount to be determined by proof.

Wl-IEREFORE, Plaintiff requests relief as set forth below.

FIFTH CLAIM:
VIOLATION OF EQUAL PROTECTION AND DUE PROCESS

42 U.S.C §1983
Plaintiff incorporates by reference herein the allegations in paragraphs one
through sixty-two inclusive. l
The Plaintiff is a citizen of the United States Under color of state law, the
defendants are effectively denying the Plaintiff accessible public school facilities
and have adopted the policy of discrimination based solely upon the physical
disability of the Plaintiff. The policies and practices of the Defendants have
resulted in the Plaintiff being denied due process and equal protection in
violation of the equal protection and due process clauses of the United States
Constitution.
Disabled persons are a discrete and insular minority, subject to a history of
discrimination, segregation, vulnerable to and not fully protected by the
political process such that discrimination between disabled and non-disabled
persons is a suspect classification Disabled persons have a right to be
included in the full range of public facilities available to members of the public
at the School, including other students faculty, \ isitors and administrators
Any of these persons may be physically disabled and require accessible facilities
in order to participate on the same basis as a non-disabled person in the
multiple activities that make up the School’s operation.

Plaintiff has no adequate remedy at law and unless the relief requested herein

is granted, she, and the class of disabled persons who have cause to use any of

 

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the School facilities will suffer irreparable harm in that their fundamental
rights to accessible sanitary facilities educational classrooms library facilities
and other facilities programs and activities necessarily connected with

attendance at public high school Will continue to be denied and abridged.

PRAYERS FOR RELIEF
WHEREFORE, Plaintiffs pray that this Court:
Issue a preliminary and permanent injunction directing the Defendants as
current owners and / or operators of the School to modify the above described
facility so that it provides adequate access to the Plaintiff and all citizens
including persons with disabilities;
Issue a preliminary or permanent injunction directing the Defendants to
provide facilities usable by Plaintiff and similar:ly situated persons with
disabilities which provide full and equal access as required by law. In the
event that it is impossible for Defendants to make such accessibility a reality,
Plaintiff requests that the court order her transferred to an accessible high
school e.g Medfield High School, where she can receive a high school education
free of the discriminatory practices which to date have colored her high school
experience at the School;
To retain jurisdic ion over the Defendants until such time as the court is
satisfied by the defendants unlawful policies practices acts and omissions and

maintenance of accessible public facilities complained hereof are no longer

complained hereof and will no longer occur and will not recur;

 

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4. Award the Plaintiffs all appropriate damages including, but not limited to,
statutory damages general damages special damages in an amount within the
jurisdiction of the court according to proof;

5. Award the Plaintiff all litigation expenses and costs of this proceeding and all
reasonable attorney’s fees as provided by law; and

6. Grant such other and further relief as this court may deem just and proper.

J'URY DEMAND

The Plaintiff hereby demands a trial by jury on issues so triable.

Anj ali Forber-Pratt, Rosalind
,Forber and Larry Pratt,
by their attorneys

CLARK, I'_I_UNT & EMBRY

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